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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


ALISON ENDICOTT-QUINONES,
Guardian ad Litem, on behalf of
A.D., R.B., E.B., and M.B.,
Minor children,

              Plaintiffs,
v.                                                 Cause No: 21-cv-00368 KG-JHR

PATRICIA GARZA, in her individual
And official capacity, REBECCA LIGGETT,
In her individual and official capacity;
BRENDA SALDANA, in her individual and
official capacity; NEW MEXICO CHILDREN
YOUTH & FAMILIES DEPARTMENT;
And DOES 1-50,

              Defendants.

NOTICE OF AGREED UPON SECOND EXTENSION OF TIME FOR PLAINTIFFS TO
 FILE THEIR RESPONSE TO DEFENDANT REBECCA LIGGETT’S MOTION FOR
 JUDGMENT ON THE PLEADINGS BASED ON ABSOLUTE IMMUNITY [DOC. 13]

       Plaintiffs, by and through their Counsel of Record, Benjamin Gubernick, Todd Bullion,

Robert J. Gorence and Jason Bowles, hereby deliver notice to the Court that the parties have

stipulated to a second extension of the deadline for Plaintiffs to file a Response to Defendant

Rebecca Liggett’s Motion for Judgment on the Pleadings Based on Absolute Immunity filed on

July 7, 2021 [Doc. 13] from Friday, July 30, 2021 to Friday, August 13, 2021.

                                                   Respectfully submitted,

                                                   GUBERNICK LAW P.L.L.C.

                                                   /s/ Benjamin Gubernick
                                                   BENJAMIN GUBERNICK
                                                   New Mexico Bar No. 145006
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                                                   ---and---

                                                   /s/ Robert Gorence
                                                   Robert J. Gorence
                                                   Gorence Law Firm, LLC
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                                                   ---and---

                                                   /s/ Jason Bowles
                                                   Jason Bowles
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                                                   ---and---

                                                   /s/ Todd J. Bullion
                                                   Todd J. Bullion
                                                   300 Central Ave SW, Suite 1000E
                                                   Albuquerque, NM 87102
                                                   (505) 452-7674
                                                   todd@bullionlaw.com

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 2nd day of August, 2021, I filed the foregoing
electronically through the Court’s CM/ECF system, which caused the following counsel to be
served by electronic means, as more fully reflected on the Notice of Electronic Filing:

       Alfred A. Park
       Lawrence M. Marcus
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       Attorneys for Patricia Garza, Rebecca Liggett, Brenda Saldana, and the New Mexico
       Children, Youth, and Families Department

/s/ Robert J. Gorence
Robert J. Gorence

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